          Case 4:18-cr-00038-BMM Document 43 Filed 07/24/18 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                                    CR-18-38-GF-BMM
                         Plaintiff,

           vs.
                                                          AMENDED ORDER
JONATHAN DALSTROM
CANTRELL,

                         Defendant.

     Defendant having pled guilty to Count 1 of the Indictment at a Change of

Plea Hearing on July 19, 2018,

       IT IS ORDERED that:

     1.          Sentencing is set for November 8, 2018, at 2:30 p.m. in the Missouri

River Federal Courthouse, Montana.

      2.         The United States Probation Office shall conduct a presentence

investigation in accordance with Fed. R. Crim. P. 32(b) and 18 U.S.C. § 3552(a).

      3.         Following completion of the presentence report, the probation officer

shall disclose the report (excepting any recommendations of the probation officer)

to the defendant, counsel for the defendant, and counsel for the government no

later than October 10, 2018. The probation officer shall not disclose, directly or

indirectly to anyone under any circumstances, the substance or contents of any

recommendation made or to be made to the Court.
        Case 4:18-cr-00038-BMM Document 43 Filed 07/24/18 Page 2 of 3



      4.     In cases where restitution is mandatory, the probation officer shall

consider a payment plan with the Defendant and make recommendations to the

Court concerning interest and a payment schedule.

      5.     In accordance with U.S.S.G. § 6A1.2, after receipt of the presentence

report and no later than October 15, 2018 counsel for each party shall present to

the probation officer, in writing, any objections to be relied upon at sentencing and,

if there is a dispute over any material in the presentence report, counsel shall meet

with the probation officer and attempt to resolve disputes informally by diligent

good faith effort.

      6.     The presentence report, in final form, shall be delivered to the Court

and the parties no later than October 24, 2018.

      7.     If the objections made pursuant to ¶ 5 are not resolved and counsel

wishes the Court to address them, the objecting party shall submit all unresolved

objections and a sentencing memorandum to the Court no later than October 30,

2018. The Court will resolve disputes in accordance with § 6A1.3 of the

guidelines at the sentencing hearing.

      8.     The parties are advised that in the absence of good cause, the Court

will not allow witness testimony at sentencing except as authorized by Fed. R.

Crim. P. 32(i). The Court will not approve payment of witness fees and costs

under Fed. R. Crim. P. 17(b) unless the witness testimony is authorized by Rule
        Case 4:18-cr-00038-BMM Document 43 Filed 07/24/18 Page 3 of 3



32(i). If either party intends to have witnesses testify at sentencing, the party must

notify the Court and the opposing party, by filing a separate notification document,

no later than October 30, 2018 of the identity of the witness and the scope and

purpose of the intended testimony. The requirement that the opposing party be

notified of any intended testimony applies regardless of the language of Rule 17(b)

contemplating ex parte application for witness subpoenas.

      9. Without leave of Court, the defendant may file no more than ten (10)

letters of support. Defendants wishing to file more than ten (10) letters must first

seek leave of Court explaining why a greater number is necessary.

      10.    Any responses to sentencing memoranda shall be filed on or before

November 1, 2018.

      11.    Reply briefs will not be accepted for filing in sentencing matters.

      DATED this 23rd day of July, 2018.
